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              EXHIBIT D
Declaration of Michael Tupper, Chief of the
     Marshalltown Police Department
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